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                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION

CATHOLIC CHARITIES
WEST MICHIGAN,                               Case No.

     Plaintiff,                              HON.

v

MICHIGAN DEPARTMENT                          NOTICE OF REMOVAL
OF HEALTH AND HUMAN
SERVICES; ROBERT GORDON, in
his official capacity as Director             Pursuant to L.Civ.R. 3.3.1(d)(iii)
                                              and 3.3.1(g) this action is related
of the Michigan Department of                 to Dumont et al. v. Gordon, et
Health and Human Services;                    al., Case No. 2:17-cv-13080 (E.D.
MICHIGAN CHILDREN’S                           Mich.) (Borman, J.), dismissed
                                              on March 22, 2019; and Buck v.
SERVICES AGENCY; JENNIFER                     Gordon, Case No. 1:19-cv-00286
WRAYNO, in her official capacity as           (W.D. Mich.) (Jonker, C.J.), filed
                                              on April 15, 2019 and currently
Acting Executive Director of                  pending.
Michigan Children’s Services Agency;
DANA NESSEL, in her official
capacity as Attorney General of
Michigan.

     Defendants.
                                        /

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                                                                       /

                        NOTICE OF REMOVAL
        Defendants Michigan Department of Health and Human Services

(DHHS), DHHS Director Robert Gordon, Michigan Children’s Services

Agency (CSA), and CSA Executive Director JooYeun Chang1

(collectively “DHHS Defendants”), and Defendant Michigan Attorney

General Dana Nessel, by and through the undersigned counsel, hereby

give notice of removal of the above-captioned case, Catholic Charities

West Michigan v. Michigan Dep’t of Health & Human Servs., et al.,


1Pursuant to Fed. R. Civ. P. 25(d) the current Children’s Services
Agency Executive Director JooYeun Chang is substituted for Acting
Children’s Services Agency Executive Director Jennifer Wrayno, who
was named in her official capacity.

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Case No. 19-000072-MM, from the Michigan Court of Claims to the

United States District Court for the Eastern District of Michigan

pursuant to 28 U.S.C. §§ 1441(a) and 1446. The grounds for removal

are as follows:

     1.    This Notice of Removal is timely filed pursuant to 28 U.S.C.

§ 1446(b)(1) because it was filed within 30 days after receipt of the

complaint by any DHHS Defendant, and Defendant Nessel consents to

removal pursuant to 28 U.S.C. § 1446(b)(2)(C).

     2.    Defendant Dana Nessel was served on May 9, 2019;

however, the Attorney General’s Office received a courtesy copy of the

complaint from the Michigan Court of Claims on-or-around May 2,

2019. Defendants DHHS and DHHS Director Robert Gordon were

served with the complaint on May 9, 2019. Defendants CSA and

Jennifer Wrayno, as CSA’s then-Acting Executive Director, were served

via email, at Plaintiff’s counsel’s request, on May 15, 2019.

     3.    A true-and-correct copy of the summons and complaint is

attached as Exhibit A.




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         4.    On May 15, 2019, Plaintiffs filed a Motion for Preliminary

Injunction2, with supporting Brief and Affidavit, a copy of which are

attached as Exhibit B.

         5.    On May 24, 2019, the parties filed a Proposed Stipulated

Order Extending Deadlines, setting June 28, 2019 as the deadline for

Defendants to respond to the complaint and to the Motion for

Preliminary Injunction filed in the Michigan Court of Claims. A copy of

this proposed order is attached as Exhibit C.

         6.    Removal is warranted pursuant to 28 U.S.C. § 1441(a)

because the complaint constitutes a civil action with several counts

arising under the Constitution of the United States. 28 U.S.C. § 1331.

Specifically, Plaintiff Catholic Charities claims that DHHS’s purported

“new policy” announced via a directive issued by the DHHS Defendants

in April 2019, violates Plaintiff’s rights under the First and Fourteenth




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 Pursuant to 28 U.S.C. § 1446(a), this Notice includes “a copy of all
process, pleadings, and orders served upon … defendants” in the state
court action. Plaintiff’s Motion for a Preliminary Injunction with
supporting Brief and other documents is included herewith for sake of
completeness. The state court case can proceed no further. 28 U.S.C. §
1446(d) If Plaintiff desires to proceed with this motion after removal,
Defendants assume it will file the motion anew in accordance with Fed.
R. Civ. P. 65.
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Amendment to the United States Constitution, 42 U.S.C. § 1983, as well

as other federal and state laws. (Ex. A, Compl., ¶¶ 10, 131, 196-226.)

Federal court is the appropriate forum for this dispute.

     7.    Moreover, the United States District Court for the Eastern

District of Michigan is the appropriate venue. Pursuant to 28 U.S.C.

§ 1441(a), a civil action may be removed “to the district court of the

United States for the district and the division embracing the place

where such action is pending.” This case is currently pending before the

Michigan Court of Claims. The Court of Claims “sit[s] in the court of

appeals district where a court of appeals judge serving as a judge of the

court of claims sits, unless otherwise determined by the chief judge of

the court of claims.” Mich. Comp. Laws § 600.6413 (LexisNexis 2019).

The Honorable Judge Cynthia Stephens is the court of appeals judge

assigned to this matter, and she sits in Michigan Court of Appeals

District 1 which is located in Detroit, Michigan. See Mich. Court of

Claims Home Page, Court of Claims Judges,

https://courts.michigan.gov/courts/coc/pages/default.aspx; see also Mich.

Court of Appeals Office and Courtroom Locations, District 1,




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https://courts.michigan.gov/Courts/COA/clerksoffice/Pages/Locations.as

px.

      8.    Not only does this Court have original jurisdiction over the

federal claims, but this Court’s supplemental jurisdiction pursuant to

28 U.S.C. § 1367(a) encompasses the state law claims. Such claims are

so related to Plaintiff’s federal constitutional claims that “they form

part of the same case or controversy under Article III of the United

States Constitution.” 28 U.S.C. § 1367(a).

      9.    Specifically, the “case or controversy” at issue here is a

collateral challenge to a Settlement Agreement executed by the

plaintiffs and DHHS Defendants in Dumont v. Gordon, et al., No. 17-cv-

13080 (E.D. Mich. 2018). Per Order dated March 22, 2019, Judge

Borman dismissed Dumont with prejudice pursuant to the terms of the

Settlement Agreement while expressly “retain[ing] jurisdiction over the

enforcement of the Settlement Agreement in [Dumont].” (“Dumont

Consent Decree”) (Dumont, No. 2:17-cv-13808, Doc. 83, Page ID ##

1468-69.) Page ID # 1468).

      10.   The Dumont Consent Decree, and DHHS’s alleged actions in

compliance with it, are at the heart of this case. Several paragraphs in


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Plaintiff’s Complaint are devoted to describing the Dumont litigation

and the settlement in that lawsuit. (Ex. A, Compl., ¶¶ 125-30.)

Plaintiff claims that a so-called “new policy” arose from a DHHS

Directive issued in April 2019 – less than a month after the Dumont

Consent Decree was entered. The directive apparently notified Child

Placement Agencies (CPA’s), like Plaintiff, that they would be in

violation of their contract with DHHS if they refer or turn away an

otherwise qualified LGBTQ individual or same-sex couple when

providing a child in care with foster care and adoptive services under

the CPA contract. (Compl., ¶¶ 132-133.) Defendants disagree with the

characterization as a “new policy,” but regardless, this policy is part of

the Settlement Agreement and forms the basis for Plaintiff’s federal

claims. (Comp., ¶¶ 134, 200-26. ) No court can grant the relief that

Plaintiff requests, to wit, an injunction or declaration allowing

discrimination in the context of services provided under CPA contract –

without requiring the DHHS Defendants to be in violation of the

Consent Decree. The proper forum for enforcing the Consent Decree is

before this Court that entered it. This is true of an enforcement action

brought by a party to the Consent Decree and also, where, as here, a


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non-party to the Consent Decree claims its rights are violated by it.

Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 381, 114 S. Ct.

1673 (1994); Pedreira v. Sunrise Children Servs., 802 F.3d 865, 867-68

(6th Cir. 2015) (claim(s) brought by a “religiously oriented” organization

that provided foster care services under contract with the state should

be heard before the court that entered the consent decree, when the

consent decree affected the organization’s contract with the state);

Lessard v. City of Allen Park, 247 F.Supp.2d 843 (E.D. Mich. 2003)

(supplemental jurisdiction over state law claims after finding original

jurisdiction over consent decree).

     11.   Moreover, even without the Consent Decree, this Court’s

supplemental jurisdiction extends to Plaintiff’s state law claims. Such

jurisdiction extends to “all [non-federal] claims that are so related to

claims in the action within [the Court’s] original jurisdiction that they

form part of the same case or controversy under Article III of the United

States Constitution” and derive from a common nucleus of operative

facts. 28 U.S.C. § 1367(a); Blakely v. United States, 276 F.3d 853, 861

(6th Cir. 2002), quoting Ahearn v. Charter Township of Bloomfield, 100

F.3d 451, 454-55 (6th Cir. 1996).


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     12.   Plaintiff Catholic Charities can hardly argue that the state

law claims do not derive from a common nucleus of operative facts. The

first 155 paragraphs in Plaintiff’s complaint detail the facts alleged

here, and all are incorporated by reference (an


     13.   d without exception) into each Count thereafter. As

explained above, Plaintiff challenges an April 2019 directive from

DHHS, describing a purported “new policy” that prohibits CPAs from

referring or turning away LGBTQ individuals and same-sex couples

when providing services to a child in care under CPA contract with the

DHHS. Plaintiff’s claim that this “new policy” purportedly violates

Michigan law for much the same reasons as they claim it violates

federal law. Both original and supplemental jurisdiction warrant

removal of this case to the United States District Court for the Eastern

District of Michigan.

     14.   Defendants have provided written notice of this Notice to

counsel for Catholic Charities, and a true and complete copy of this

Notice will be filed in the Michigan Court of Claims.



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      WHEREFORE, the DHHS Defendants and Defendant Nessel

remove this action, previously commenced in the Michigan Court of

Claims, to the United States District Court for the Eastern District of

Michigan.



Date: June 5, 2019                       /s/ Toni L. Harris
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                     CERTIFICATE OF SERVICE

     I hereby certify that on June 5, 2019, I mailed this Notice of
Removal by United States Postal Service, first class postage prepaid,
and by electronic mail, to Plaintiff’s counsel below:

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